Case 1:19-md-02875-RMB-SAK   Document 2794-1   Filed 08/02/24   Page 1 of 31
                             PageID: 104065



                THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY
                        CAMDEN VICINAGE


IN RE VALSARTAN, LOSARTAN, AND
IRBESARTAN PRODUCTS LIABILITY                      No. 1:19-md-2875
LITIGATION
                                            Honorable Renée Marie Bumb
This document relates to:                 Special Master Thomas I. Vanaskie
All Actions


            PLAINTIFFS’ BRIEF IN SUPPORT OF
 THEIR OBJECTIONS TO AND MOTION TO REVERSE OR MODIFY
           SPECIAL MASTER ORDER 100 IN PART
Case 1:19-md-02875-RMB-SAK                      Document 2794-1             Filed 08/02/24          Page 2 of 31
                                                PageID: 104066



                                        TABLE OF CONTENTS

PRELIMINARY STATEMENT ...................................................................... 1

ARGUMENT .................................................................................................... 4

I. THE COURT SHOULD CHARGE THE JURY WITH ADVERSE
   FINDINGS OF FACT AS DIRECTED IN SMO 98 .................................. 4

II. IN THE ALTERNATIVE, THE COURT SHOULD MODIFY THE
    PERMISSIVE ADVERSE INFERENCE CHARGE IN SPECIAL
    MASTER ORDER 100................................................................................ 11

III. ZHP WAIVED ANY ARGUMENT AGAINST THE ATTORNEY
     FEES, WHICH ARE ALSO REASONABLE ............................................ 15

CONCLUSION ................................................................................................. 25




                                                          i
Case 1:19-md-02875-RMB-SAK                   Document 2794-1             Filed 08/02/24        Page 3 of 31
                                             PageID: 104067



                                   TABLE OF AUTHORITIES

Cases

Aikens v. Shalala,
      956 F. Supp. 14 (D.D.C. 1997)................................................................... 16

Amersham Biosciences v. PerkinElmer, Inc.,
     No. CV 03-4901 (JLL), 2005 WL 8179738 (D.N.J. Apr. 14, 2005).......... 16

Arconic Inc. v. Universal Alloy Corp.,
     No. 1:15-CV-01466, 2020 WL 10486178 (N.D. Ga. Mar. 30, 2020)........ 15

Beira v. Comm'r of Soc. Sec.,
      No. 612CV147ORL18DCI, 2021 WL 275905 (M.D. Fla. Jan. 4, 2021),
      report and recommendation adopted, No. 6:12-CV-147-GKSDCI,
      2021 WL 268643 (M.D. Fla. Jan. 27, 2021) .............................................. 24

Blum v. Stenson,
     465 U.S. 886 (1984).................................................................................... 21

Brazile v. Comm'r of Soc. Sec.,
      No. C18-5914JLR, 2022 WL 503779 (W.D. Wash. Feb. 18, 2022).......... 24

Cooper Hosp./Univ. Med. Ctr. v. Sullivan,
     183 F.R.D. 135 (D.N.J. 1998) .................................................................... 16

Horizon Glob. Americas Inc. v. Curt Mfg., LLC,
      No. 17-11879, 2020 WL 1303212 (E.D. Mich. Mar. 18, 2020) ................ 16

In re Juul Labs, Inc., Mktg., Sales Practices, & Prods. Liab. Litig.,
       No. 19-md-02913 (Dec. 18, 2023) ............................................................. 23

Koch Materials Co. v. Shore Slurry Seal, Inc.,
     216 F.R.D. 301 (D.N.J. 2003) .................................................................... 16

In re LTL Management LLC,
       No. 21-bk-30589 (D.N.J. Bankr. March 1, 2023) ...................................... 23

In re LTL Management LLC,
       No. 21-bk-30589 (D.N.J. Bankr. May 4, 2022) ......................................... 24
                                                       ii
Case 1:19-md-02875-RMB-SAK                  Document 2794-1            Filed 08/02/24       Page 4 of 31
                                            PageID: 104068




Mali v. Fed. Ins. Co.,
      720 F.3d 387 (2d Cir. 2013) ....................................................................... 10

Peterson v. Comm'r of Soc. Sec.,
      No. 616CV948ORL40GJK,
      2018 WL 3650034 (M.D. Fla. June 19, 2018) ........................................... 24

In re Philips Recalled CPAP, Bi-Level PAP, & Mech. Ventilator Prod. Litig.,
       No. MC 21-1230, 2024 WL 1810190, (W.D. Pa. Apr. 25, 2024).............. 22

In re Refco Inc. Sec. Litig.,
       No. 07 MDL 1902, 2013 WL 2526661 (S.D.N.Y. June 6, 2013) .............. 16

Reich v. Hercules, Inc.,
      857 F. Supp. 367 (D.N.J. 1994) .................................................................. 16

Rode v. Dellarciprete,
      892 F.2d 1177 (3d Cir.1990) ...................................................................... 20

Student Pub. Interest Research Grp., Inc. v. AT & T Bell Labs.,
      842 F.2d 1436 (3d Cir.1988) ...................................................................... 21

In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig.,
       No. 13-MD-2445, 2024 WL 815503 (E.D. Pa. Feb. 27, 2024) .................. 22

Timothy M. v. Comm'r Soc. Sec. Admin.,
     No. 6:21-CV-01708-AR, 2023 WL 1071604 (D. Or. Jan. 27, 2023) ........ 24

In re Valsartan, Losartan, and Irbesartan Products Liab. Litig.,
       No. MDL 2875, 2021 WL 6010575 (D.N.J. Dec. 20, 2021) ............... passim

In re Vioxx Prod. Liab. Litig.,
       760 F. Supp. 2d 640 (E.D. La. 2010) .......................................................20,21

Wachtel v. Health Net, Inc.,
     No. CIV 01-4183, 2007 WL 1791553 (D.N.J. June 19, 2007) ............ passim

Washington v. Philadelphia County Court of Common Pleas,
     89 F.3d 1031 (3d Cir. 1996) .....................................................................20,21

                                                     iii
Case 1:19-md-02875-RMB-SAK                  Document 2794-1           Filed 08/02/24        Page 5 of 31
                                            PageID: 104069



Rules

Federal Rule of Civil Procedure 26 .................................................................. 10

Federal Rule of Civil Procedure 44.1 ............................................................... 10

Federal Rule of Civil Procedure 37 ................................................................. passim




                                                     iv
Case 1:19-md-02875-RMB-SAK          Document 2794-1     Filed 08/02/24   Page 6 of 31
                                    PageID: 104070



                           PRELIMINARY STATEMENT

         Special Master Order 98 (“SMO 98”) correctly found that the appropriate

sanctions for ZHP’s years-long pattern of discovery violations, replete with

gamesmanship and outright refusal and obstruction, included adverse findings of

fact to be charged to the jury at trial. This sanction was correctly found to be

necessitated to match the degree and duration of ZHP’s misconduct, which is

ongoing. “ZHP has not been forthcoming in this discovery process. …ZHP has not

taken all reasonable steps to comply with the Court’s orders or to openly participate

in this litigation.” (SMO 98, at 25). In addition to the inability to depose Baohua

Chen, the Special Master pointed out the ongoing “unexplained failures,” including

the failure by ZHP to offer a “credible explanation” for its claimed “inability” to

produce “crucially important documents.” (SMO 100, at 14). 1 In sum, “Due to these

discovery failings, there are important information gaps dealing with when ZHP first

learned of the contamination and whether it concealed its knowledge.” (SMO 100,

at 3).

         Despite this, in SMO 100, the Special Master modified the sanction to provide

the jury with the option to draw an adverse inference (but including confusing

language suggesting that the jury will assess and make factual findings as to whether


1
  To the extent ZHP again argues that it did not violate its discovery obligations or
that its conduct has not been egregious, those arguments should be rejected, and
ZHP’s continued refusal to acknowledge the severity of its misconduct should be
taken into account in imposing the sanctions here.
                                           1
Case 1:19-md-02875-RMB-SAK           Document 2794-1      Filed 08/02/24    Page 7 of 31
                                     PageID: 104071



the long-standing discovery violations were improper, which is not workable). This

change was not warranted, as the adverse findings of fact were proper, and it would

be unfairly prejudicial to require the Plaintiffs to litigate these material gaps at trial

as if the Court did not already conclusively rule that the gaps existed and prejudiced

Plaintiffs based on extensive briefing and argument over the course of years.

      The modification to the sanction was apparently based on the mistaken

crediting of the concern raised by ZHP that the adverse findings of fact directed in

SMO 98 could be considered the equivalent of the entry of a default judgment. (SMO

100, at 10). However, that decision was made without reference by ZHP or the

Special Master to the elements of any of the claims in the upcoming trial against

ZHP (and others), or future cases, or any analysis of how the adverse findings could

equate to a default.

      The findings discussed in SMO 98, and dutifully set forth in Plaintiffs’

proposed findings of fact, would not amount to entry of a default judgment on any

of the claims. Among other things, Defendants continue to deny that the

contamination created an “unacceptable carcinogenic risk” or that the contamination

impacted the value of the contaminated pills in the context of economic loss claims,

or that the contamination was significant enough to establish general causation in

the context of personal injury claims. Defendants also retain all of their legal

defenses, including the arguments they have characterized as so strong that Plaintiffs

cannot prevail as a matter of law.
                                            2
Case 1:19-md-02875-RMB-SAK         Document 2794-1      Filed 08/02/24   Page 8 of 31
                                   PageID: 104072



      Notwithstanding, in case the Court determines that SMO 98 went too far,

Plaintiffs have taken into account the issues noted by the Special Master in SMO

100 and have revised the Special Master’s proposed adverse inference instruction to

reinsert the foundational findings as to the discovery violations, and clarify the

permissive inference the jury may make. The result is an instruction that addresses

the discovery violations, while addressing the Special Master’s concern that the

sanction not amount to a default—in accordance with ZHP’s own argument: “The

Special Master went far beyond simply endorsing an instruction that the jury could

assume that Mr. Chen’s testimony - or any unproduced documents…would be

adverse to ZHP.” (ECF 2738-1, at 30).

      Accordingly, in the event the Court will not charge the jury with the Plaintiffs’

proposed adverse findings of fact submitted pursuant to SMO 98, the Court should

adopt Plaintiffs’ proposed modified adverse inference instruction, which harmonizes

the Special Master’s findings in SMO 98 with the concerns and modifications set

forth in SMO 100. Most important, the instruction should make clear that ZHP

violated its discovery obligations, and that the jury can infer that this occurred

because ZHP knew that the discovery would have been adverse to ZHP—without

inviting or requiring a mini-trial to re-examine the Court’s findings during the course

of discovery, and without instructing the jury to find that there was a “cover up,”

which removes the basis for the argument that the instruction is equivalent to a

default or too prejudicial.
                                          3
Case 1:19-md-02875-RMB-SAK         Document 2794-1       Filed 08/02/24   Page 9 of 31
                                   PageID: 104073



      Finally, SMO 100 properly granted Plaintiffs’ unopposed request for attorney

fees and costs in accordance with SMO 98. In this connection, ZHP waived its right

to object by unilaterally determining that it could wait to object to the sanctions at a

time of its choosing despite the clear dictates of SMO 98.

                                    ARGUMENT

                                           I.

      THE COURT SHOULD CHARGE THE JURY WITH ADVERSE
           FINDINGS OF FACT AS DIRECTED IN SMO 98

      SMO 98 correctly held that “[b]y resting on the laws of the PRC that benefit

ZHP by preventing discovery, ZHP has acted in bad faith by not making all

reasonable efforts to find a solution that allowed compliance with this Court’s

orders.” (SMO 98, at 32). In fact, the Special Master spotlighted ZHP’s “skillful”

manipulation of deadlines and choice to try to hide behind Chinese blocking statutes

(including delaying a production deadline while waiting for the Chinese Data

Security law to be implemented, then refusing production), and inadequate

production of documents thereafter (“[T]hese documents do not contain the breadth

of information Plaintiffs are due”) and outright violation of the Special Master’s

instructions directing ZHP to clearly inform the Chinese government of the

purpose and importance of the visa application. (Id. at 19-21, 23-24).

      SMO 98 followed this Court’s prior decision outlining the propriety of

“making ‘findings of fact adverse to a party that has failed to comply with the order

                                           4
Case 1:19-md-02875-RMB-SAK        Document 2794-1      Filed 08/02/24   Page 10 of 31
                                  PageID: 104074



for production, even if that party has made a good faith effort to secure permission

from the foreign authorities to make the information available and that effort has

been unsuccessful.’” In re Valsartan, Losartan, and Irbesartan Products Liab. Litig.,

No. MDL 2875 (RBK), 2021 WL 6010575, at *18-19 (D.N.J. Dec. 20, 2021) (bold

added). Specifically, the Court held: “Regarding Mr. Chen’s deposition, ZHP will

be precluded from relying on any testimony or fact that Mr. Chen’s deposition would

have demonstrated. There will be an adverse inference regarding ZHP’s knowledge

of the contamination and efforts to prevent the disclosure of this contamination.”

(SMO 98, at 38). SMO 98 was clear that this sanction was necessary to “correct the

prejudice Plaintiffs have experienced because of their inability to rely on the

nondisclosed information in forming their case.” (Id. at 34). Moreover, SMO 98

found that such adverse findings of fact were a “lesser sanction” than the one

Plaintiffs requested, namely “dismissing ZHP’s Answers and Defenses.” (Id.).

      In accordance with SMO 98, Plaintiffs submitted proposed adverse findings

of fact, with supporting citations to the Special Master’s decision:

             The Court has made the following findings of fact with
             regard to ZHP that you are required to accept as true in
             evaluating the evidence and reaching your verdict:

             1.    Baohua Chen is the CEO and the highest-level
             executive in ZHP. (SMO 98, at 1-2).

             2.    Baohua Chen had direct involvement with issues
             central to this case. (SMO 98, at 3).



                                          5
Case 1:19-md-02875-RMB-SAK      Document 2794-1      Filed 08/02/24    Page 11 of 31
                                PageID: 104075



          3.    Baohua Chen’s involvement and authority with
          respect to the development, manufacture, sale, and recall
          of ZHP’s Valsartan was substantial, and it is likely that
          Mr. Chen has personal, unique firsthand knowledge
          regarding the matters at issue in this case. (SMO 98, at 3).

          4.     During the course of discovery in this case, when
          the Parties were required to produce documents and
          conduct the depositions of witnesses, the Court ordered
          ZHP to produce Baohua Chen for his deposition by the
          Plaintiffs. ZHP violated the Court Order requiring ZHP to
          produce Mr. Chen for his deposition, and Mr. Chen was
          not produced for his deposition. This deprived the
          Plaintiffs of their right to take the deposition of Mr. Chen.
          (SMO 98, at 2-4, 10-13, 19-21, 25-26, 30, 32).

          5.     During the course of discovery in this case, ZHP
          was also required by Court Orders to produce relevant
          documents, and failed to fully comply with those Court
          Orders. In addition to the failure to produce certain
          documents at all, documents that were produced were not
          produced in the required form. For example, ZHP was
          required by Court Orders to produce the July 27, 2017
          email written by Jinsheng Lin, in its native form. The July
          27, 2017 email references ZHP’s knowledge that its
          Valsartan was contaminated with NDMA, in discussing
          the problems presented by the finding of another
          nitrosamine impurity in Irbesartan, a similar drug
          substance manufactured by ZHP with a similar process as
          used to manufacture Valsartan. The native form of the
          document is the primary electronic form of the document,
          including the metadata for the document, which is
          information embedded in an electronic document. The
          metadata would have included information about when the
          document was written, who it was sent and forwarded to
          and when, and other relevant information. Instead, ZHP
          only produced a copy of the July 27, 2017 email in PDF
          form, without the metadata for the document. This
          deprived the Plaintiffs of their right to be provided the July
          27, 2017 email in its primary electronic form with its
          metadata, so that the Plaintiffs could fully investigate and
                                        6
Case 1:19-md-02875-RMB-SAK     Document 2794-1      Filed 08/02/24    Page 12 of 31
                               PageID: 104076



          understand the email. In addition, despite the email being
          sent to numerous key personnel at ZHP, it was not
          produced in the custodial file for the author of the email,
          Jinsheng Lin, and was only produced in the custodial file
          of one of the numerous recipients of the email, Min Li. In
          addition, ZHP created an internal Irbesartan Report
          addressing ZHP’s investigation into the nitrosamine
          impurity found in Irbesartan referenced in the July 27,
          2017 email. ZHP failed to produce all drafts of the
          Irbesartan Report, as required, and the single draft
          produced was not produced in its native, primary
          electronic form with its metadata. This deprived the
          Plaintiffs of their right to fully understand and investigate
          the report and ZHP’s internal investigation and decision
          making with regard to nitrosamine impurities in its sartan
          drug substances, including Valsartan. (SMO 98, at 4-10,
          21-26, 32-33, 36-37).

          6.     The Court has determined that Baohua Chen’s
          deposition testimony and the documents ZHP failed to
          produce as required would have provided information that
          would have been adverse to ZHP, and would have favored
          the Plaintiffs. (SMO 98, at 33-34, 36-39).

          7.    The Court has determined that ZHP, at Baohua
          Chen’s direction, covered up and prevented the disclosure
          of ZHP’s actual knowledge of the nitrosamine
          contamination of ZHP’s Valsartan from at least July 27,
          2017 until ZHP’s customer Novartis discovered the
          contamination and informed ZHP of its discovery in June,
          2018. ZHP then disclosed the contamination. (SMO 98, at
          36-39)




                                       7
Case 1:19-md-02875-RMB-SAK        Document 2794-1      Filed 08/02/24   Page 13 of 31
                                  PageID: 104077



             8.    The Court has determined that ZHP violated its
             Court ordered legal obligations to produce Baohua Chen
             for his deposition and produce documents as required
             because ZHP and Mr. Chen knew of the nitrosamine
             contamination of ZHP’s Valsartan at least as of July 27,
             2017, and at Mr. Chen’s direction covered up and
             prevented disclosure of the nitrosamine contamination
             until ZHP’s customer Novartis discovered the
             contamination and informed ZHP of its discovery in June,
             2018. ZHP then disclosed the contamination. (SMO 98, at
             36-39).

(ECF 2721-1).

      This instruction is faithful to the instructions in SMO 98, and the record in

this case. To be clear, ZHP’s own translation of the July 27, 2017 email and the

testimony of ZHP 30(b)(6) witness Min Li, who was Jinsheng Lin’s boss and a

recipient of the email, conclusively establish the meaning of the email. (ZHP 296

(Plaintiffs’ translation), Ex. 37; Ex. 53 (ZHP’s Translation); Min Li 4/20/2021 Dep.

82:11-12, 87:19-88:7, 88:13-89:18, Ex. 48 (discussing ZHP-295, Ex. 54)).2 The

Special Master recognized this, stating the “email dated July 27, 2017 … revealed

ZHP’s knowledge of the nitrosamine contamination.” (SMO 100, at 3).

      SMO 100 did not address Plaintiffs’ proposed instruction directly. Instead, the

Special Master drafted a permissive inference instruction, apparently concerned that

directing the findings of fact could amount to a default judgment. However, this was

not based on an analysis of the elements of any of the claims at issue, likely because


2
 These exhibits are attached to the Adam M. Slater’s Certification in Opposition to
ZHP’s objections and motion to vacate SMO 98. (ECF 2750).
                                        8
Case 1:19-md-02875-RMB-SAK         Document 2794-1    Filed 08/02/24   Page 14 of 31
                                   PageID: 104078



ZHP had not done that analysis, including in its brief objecting to SMO 98. (ECF

2738-1). The fact that the adverse findings of fact would be helpful to Plaintiffs’

position is not a reason to weaken the sanction—that is the purpose of the sanction.

      SMO 100 went too far in revising the ruling and weakening and unnecessarily

complicating the instruction to be given to the jury, and incorrectly found that the

permissive adverse inference instruction would “restore the affected party to the

likely position it would have been in had its adversary observed its discovery

obligations.” (SMO 100, at 11). SMO 100’s permissive adverse inference charge

would not put Plaintiffs in the same position as if ZHP had produced Baohua Chen

for his deposition and produced the native versions of the July 27, 2017 email and

the related irbesartan report with all its drafts, and allowed Plaintiffs to have the

information to which they were entitled. SMO 100 actually puts Plaintiffs in the

same or worse position than they would have been had the Court never ordered the

deposition of Mr. Chen or the native documents with all their drafts, or made the

findings regarding ZHP’s systemic discovery violations, if Plaintiffs need to prove

the discovery violations and their import at trial.

      Moreover, as written, SMO 100 would require Plaintiffs to litigate these issues

in the form of an unnecessary mini-trial without the benefit of the deposition and

documents Plaintiffs were entitled to. This despite the Court having conclusively

found that the Defendants violated their obligations—without that finding no

sanctions could have been imposed to begin with, so those findings cannot be
                                           9
Case 1:19-md-02875-RMB-SAK          Document 2794-1      Filed 08/02/24    Page 15 of 31
                                    PageID: 104079



effectively reversed by a jury.       This would be especially prejudicial because

Plaintiffs have a limited time to present their case to a jury, the instruction as written

would undoubtedly create a mini-trial and distract the jury, and it would be quite

unworkable to litigate the discovery misconduct at trial.3

      The instruction also runs contrary to the law that the non-producing party has

the burden of proving a foreign law prevented the discovery at issue, which is a legal

question the Court has already decided in the negative. SMO 100 seems to impose

on Plaintiffs the burden of proving that Chinese law did not prevent ZHP from

producing Baohua Chen for his deposition, when the law is clear that ZHP bears the

burden of establishing a foreign law prevented the deposition. Most important, the

Court already found that ZHP did not act in good faith and violated the Court’s

explicit directions on this issue, and failed to meet its burden. Valsartan, 2021

WL 6010575, at *10-11 (noting that “The party invoking a foreign … restriction has

the burden not only to assert the basis for its objections under Rule 26(b)(5)(A), but

must prove in accordance with Rule 44.1 that the foreign law applies to the discovery

sought, and conflicts with U.S. law,” and “Rule 44.1 states: …. The court's

determination must be treated as a ruling on a question of law.” (emphasis




3
  See Mali v. Fed. Ins. Co., 720 F.3d 387, 393 (2d Cir. 2013) (holding that a
permissive adverse inference charge “is not a sanction. It is no more than an
explanation of the jury's fact-finding powers.”).
                                         10
Case 1:19-md-02875-RMB-SAK          Document 2794-1   Filed 08/02/24   Page 16 of 31
                                    PageID: 104080



added)). This issue has been determined by the Court and should not be revisited any

further, including on this application or at trial.

      The Court should therefore affirm SMO 98, vacate SMO 100 to the extent it

overruled SMO 98’s adverse findings of fact, and adopt Plaintiffs’ requested adverse

findings of fact.

                                           II.

                    IN THE ALTERNATIVE,
      THE COURT SHOULD MODIFY THE PERMISSIVE ADVERSE
       INFERENCE CHARGE IN SPECIAL MASTER ORDER 100

      In the event the Court determines that a different instruction is required,

Plaintiffs submit the following alternative proposed adverse inference instruction

taking into account the guidance from SMO 100. This instruction utilizes the

proposed instruction in SMO 100, which is edited to ensure consistency with the

findings already made by the Court and Special Master, removes the need for an

unworkable and unnecessary mini-trial on ZHP’s discovery conduct, and omits

references to a finding of a “cover up” to avoid any argument that the instruction

goes too far.

      First, as the Court can see below, the edits remove references to what the

Plaintiffs “argued” or “contend” since the Special Master and Court (in denying

ZHP’s appeal from the Order compelling the deposition of Mr. Chen) made these

factual findings as a prerequisite to sanctioning ZHP in the first place—the jury

cannot be given the opportunity to disagree with the Court on those findings.
                                           11
Case 1:19-md-02875-RMB-SAK         Document 2794-1     Filed 08/02/24    Page 17 of 31
                                   PageID: 104081



       The findings encompassed herein made by the Court include: (1) Baohua

Chen is the CEO and the highest-level executive in ZHP (SMO 98, at 1-2), (2)

Baohua Chen had direct involvement with issues central to this case (SMO 98, at 3),

and (3) Baohua Chen’s involvement and authority with respect to the development,

manufacture, sale, and recall of ZHP’s Valsartan was substantial, and it is likely that

Mr. Chen has personal, unique firsthand knowledge regarding the matters at issue in

this case (SMO 98, at 3). As found by the Special Master in SMO 100, “[i]t is

undisputed that Mr. Chen, as President of ZHP, is the company’s highest level

executive and had direct involvement with ZHP’s response to the discovery of the

NDMA contamination of ZHP’s valsartan … was closely involved in ZHP

operations and in the decision-making to change the API solvent(s).” (SMO 100, at

10).

       These are the foundational findings by the Court through months and years of

contested motions, supporting the imposition of the adverse inference instruction,

along with the findings by the Court that ZHP violated its discovery obligations to

the extreme prejudice of Plaintiffs. These findings cannot be collaterally attacked at

this stage. In other words, the findings leading to the decision to impose the

sanctions, which are focused on ZHP’s gross misconduct during discovery, and Mr.

Chen’s role in the company, have been determined by the Court, and there is no basis

to re-submit those issues to a jury.

       Plaintiffs’ alternative proposed instruction:
                                          12
Case 1:19-md-02875-RMB-SAK     Document 2794-1      Filed 08/02/24   Page 18 of 31
                               PageID: 104082



          Deposition of Baohua Chen

          Baohua Chen, the President of ZHP, did not appear for a
          deposition ordered by this Court. This deprived the
          Plaintiffs of their right to obtain the sworn deposition of
          Mr. Chen that they were entitled to pursuant to the law.
          Mr. Chen had direct involvement with issues central to this
          case. Mr. Chen had substantial involvement and authority
          with respect to ZHP’s Valsartan development,
          manufacturing, marketing, quality assurance, ZHP’s
          response to the disclosure of the contamination of ZHP’s
          Valsartan, and its subsequent recall from the market.

          You are permitted, but not required, to infer that Mr.
          Chen’s deposition testimony would have been unfavorable
          to ZHP. Specifically, you are permitted to infer that Mr.
          Chen’s deposition testimony would have included
          information about ZHP’s knowledge of the nitrosamine
          contamination of ZHP’s Valsartan that would have been
          unfavorable to ZHP.

          Again, any inference you decide to draw should be based
          on all the facts and circumstances of this case.

          Missing Documents

          ZHP failed to produce relevant documents that it was
          ordered to produce in this case. Specifically, ZHP was
          ordered to produce the native form of the July 27, 2017
          email written by Jinsheng Lin. The July 27, 2017 email
          references ZHP’s discussion of a problem presented by the
          finding of another nitrosamine impurity in Irbesartan, a
          similar drug manufactured by ZHP with a process similar
          to the process used to manufacture Valsartan, and states
          that this nitrosamine impurity appeared to be similar to the
          NDMA found in ZHP’s Valsartan, and correctly states the
          root cause of the contamination with the impurity was the
          quenching with sodium nitrite. Additionally, ZHP was
          ordered to produce all drafts of an internal Irbesartan
          Report addressing ZHP’s investigation into the
          nitrosamine impurity found in Irbesartan referenced in the
                                      13
Case 1:19-md-02875-RMB-SAK          Document 2794-1     Filed 08/02/24   Page 19 of 31
                                    PageID: 104083



               July 27, 2017 email. ZHP produced a version of this report
               but did not produce the report in its native, primary
               electronic form with its metadata. The native form of these
               documents and their included metadata would have
               provided Plaintiffs information about when the document
               was written, when it was sent and forwarded to and when,
               and other relevant information.

               These documents were in ZHP’s control and would have
               proven facts relevant to the issues in this case.

               You are permitted, but not required, to infer that the
               evidence would have been unfavorable to ZHP.

               Again, any adverse inference you decide to draw should
               be based on all the facts and circumstances of this case.4

        Plaintiffs submit that this instruction cannot be reasonably objected to, as it

communicates the findings already made by the Court regarding the foundational

facts and discovery violations that created the need for the sanctions, the instruction

is permissive and streamlined to be in line with what ZHP argued for, and the

reference to a finding of a cover up has been removed, thus avoiding any risk that

the instruction could be construed as equating to a default or too drastic. The finding

of ZHP’s state of mind is left to the jury.




4
    Plaintiffs also changed “defendants” to ZHP.
                                           14
Case 1:19-md-02875-RMB-SAK         Document 2794-1     Filed 08/02/24    Page 20 of 31
                                   PageID: 104084



                                         III.

           ZHP HAS WAIVED ANY ARGUMENT AGAINST
       THE ATTORNEY FEES, WHICH ARE ALSO REASONABLE

      SMO 98 ordered ZHP to compensate Plaintiffs for their attorney fees and costs

related to the discovery violations at discussed above. (SMO 98, at 39). Plaintiffs

submitted their request in accordance with SMO 98. (ECF 2731). After the Special

Master rejected its request to postpone the issue until after its motion to reverse SMO

98, ZHP did not object to the reasonableness of Plaintiffs’ requested attorney fees

and costs before the Special Master, but instead unilaterally “reserved” its rights to

object later, without asking the Court for permission to do so. (ECF 2726; ECF 2730;

ECF 2737, at 9-11). SMO 100 granted Plaintiffs’ request in full, finding “the hours

expended on tasks such as researching and drafting motions and briefs appear

reasonable” and “the rates of Plaintiffs’ attorneys appear commensurate with the

rates of attorneys in the surrounding legal market specializing in substantial products

liability litigation.” (SMO 100, at 16). ZHP’s failure to challenge these findings

below is a waiver since that was the time to raise the objection—ZHP cannot

unilaterally alter the briefing schedule to suit its whims. See, e.g., Arconic Inc. v.

Universal Alloy Corp., No. 1:15-CV-01466-ELR, 2020 WL 10486178, at *4 (N.D.

Ga. Mar. 30, 2020) (holding “those arguments were not raised before the Special

Master and the Court need not consider them now,” noting that “the rules

governing review of a Special Master's determination are analogous to those

                                          15
Case 1:19-md-02875-RMB-SAK        Document 2794-1      Filed 08/02/24   Page 21 of 31
                                  PageID: 104085



which guide federal district courts sitting in an appellate capacity of rulings by

magistrates,” and collecting cases refusing to consider arguments not raised before

a magistrate because “‘allowing parties to litigate fully their case before the

magistrate and, if unsuccessful, to change their strategy and present a different

theory to the district court would frustrate the purpose’ of the magistrate-judge

system, ‘effectively nullify the magistrate judge's consideration of the matter[,] and

would not help to relieve the workload of the district court.’” (emphasis added));

Horizon Glob. Americas Inc. v. Curt Mfg., LLC, No. 17-11879, 2020 WL 1303212,

at *3 (E.D. Mich. Mar. 18, 2020) (same); In re Refco Inc. Sec. Litig., No. 07 MDL

1902 JSR, 2013 WL 2526661, at *4 (S.D.N.Y. June 6, 2013) (same); Amersham

Biosciences v. PerkinElmer, Inc., No. CV 03-4901 (JLL), 2005 WL 8179738, at *2

(D.N.J. Apr. 14, 2005) (collecting cases, and denying consideration of such

arguments as waived); Koch Materials Co. v. Shore Slurry Seal, Inc., 216 F.R.D.

301, 306 (D.N.J. 2003); Cooper Hosp./Univ. Med. Ctr. v. Sullivan, 183 F.R.D. 135,

142 (D.N.J. 1998); Aikens v. Shalala, 956 F. Supp. 14, 23 (D.D.C. 1997); Reich v.

Hercules, Inc., 857 F. Supp. 367, 369 (D.N.J. 1994) (“Although this Court must

review the Report and Recommendation de novo, Hercules is not entitled as of

right to present arguments to this Court which were not seasonably presented

to the Magistrate” (emphasis added)).

      Nevertheless, out of an abundance of caution, Plaintiffs summarize their

submission “associated with its efforts to obtain ZHP’s compliance, including its
                                         16
Case 1:19-md-02875-RMB-SAK        Document 2794-1      Filed 08/02/24   Page 22 of 31
                                  PageID: 104086



motions to compel, the instant motion for sanctions, and its preparation of proposed

findings of fact consistent with this Order.” (SMO 98, at 39). The identified time

and expenses are itemized in the accompanying Certification of Adam M. Slater in

Support of Plaintiffs’ Request for Attorneys’ Fees and Costs and Monetary Sanction

Pursuant to SMO 98 (“Slater Certification”) (ECF 2731-2).

      In accordance with the detailed factual analysis set forth in SMO 98, Plaintiffs

determined that the following filings and hearings were “associated with [Plaintiffs’]

efforts to obtain ZHP’s compliance, including its motions to compel, the instant

motion for sanctions, and its preparation of proposed findings of fact.” This list

illustrates the extent of the legal work that was necessitated by ZHP’s long-standing

lack of compliance, which the Court noted, stating “the sanctions recognize the

substantial duration of ZHP’s non-compliance, which has now lasted for more than

three years” (SMO 98, at 38):

   • ECF 685 – December 21, 2020 Letter from Adam M. Slater Regarding the
     December 22, 2020 Case Management Conference Regarding Baohua Chen’s
     Deposition

   • ECF 694 – Transcript of Proceedings held on December 22, 2020, before
     Judge Robert B. Kugler and Joel Schneider Regarding Deposition of Baohua
     Chen

   • ECF 1189 – April 27, 2021 Letter from Adam M. Slater Regarding the April
     28, 2021 Case Management Conference

   • ECF 1220 – Transcript of Proceedings held on May 3, 2021, before Special
     Master the Honorable Thomas I. Vanaskie Regarding Baohua Chen’s
     Custodial File and Deposition


                                         17
Case 1:19-md-02875-RMB-SAK       Document 2794-1     Filed 08/02/24   Page 23 of 31
                                 PageID: 104087



    • ECF 1243 – Transcript of Proceedings held on May 12, 2021, before Special
      Master the Honorable Thomas I. Vanaskie Regarding Maggie Kong’s
      Custodial File5

    • ECF 1250 – May 17, 2021 Letter from Adam M. Slater in Reply to ZHP's
      Opposition to Plaintiffs' Request for Production of Baohua Chen's Custodial
      File

    • ECF 1293 – June 3, 2021 Notice by All Plaintiffs Regarding 1158 Notice
      (Other) to Take Videotaped Oral Deposition of Baohua Chen (First Amended)

    • ECF 1298 – Brief in Opposition filed by All Plaintiffs Regarding 1247 Motion
      for Protective Order Precluding the Deposition of ZHP President Baohua
      Chen, filed June 6, 2021

    • ECF 1299 – Transcript of Proceedings held on June 3. 2021, before Special
      Master the Honorable Thomas I. Vanaskie Regarding Baohua Chen’s
      Custodial File and Deposition

    • ECF 1326 – Transcript of Proceedings held on June 16, 2021, before Special
      Master the Honorable Thomas I. Vanaskie Regarding Baohua Chen’s and
      Maggie Kong’s Custodial Files

    • ECF 1405 – Motion to Compel ZHP's Supplemental Production by All
      Plaintiffs, filed July 23, 2021

    • ECF 1453 – Brief in Opposition filed by All Plaintiffs Regarding 1386 Motion
      to Vacate, filed August 2, 2021

    • ECF 1504 – Transcript of Proceedings held on August 25, 2021, before Judge
      Robert B. Kugler and Special Master the Honorable Thomas I. Vanaskie
      Regarding Supplemental Production

    • ECF 1573 – Transcript of Proceedings held on September 10, 2021, before
      Special Master the Honorable Thomas I. Vanaskie Regarding Maggie Kong’s
      Custodial File


5
  Plaintiffs note that ZHP did not produce any part of Maggie Kong’s custodial file
until after the filing of Plaintiffs’ Rule 37 motion and continued producing
documents from her file even after oral argument of the motion. Attorney fees and
costs for Plaintiffs’ unnecessary efforts to force ZHP’s compliance with the Court’s
repeated orders for her custodial file are therefore justified.
                                           18
Case 1:19-md-02875-RMB-SAK         Document 2794-1      Filed 08/02/24   Page 24 of 31
                                   PageID: 104088



   • ECF 1674 – October 26, 2021 Letter from Adam M. Slater Regarding the
     October 27, 2021 Case Management Conference Regarding Baohua Chen’s
     Deposition

   • ECF 1765 – November 21, 2021 Letter from A. Slater on behalf of Plaintiffs
     Regarding November 24, 2021 CMC Regarding Baohua Chen’s deposition
     and Maggie Kong’s Custodial File

   • ECF 1828 – Transcript of Proceedings held on 12/1/2021, before Judge
     Robert B. Kugler and Special Master the Honorable Thomas I. Vanaskie re
     Supplemental Production

   • ECF 1838 – Motion for Sanctions under Rule 37 Against ZHP by All
     Plaintiffs, filed December 30, 2021

   • ECF 1921 – Reply Brief to Opposition to Motion filed by All Plaintiffs
     Regarding 1838 Motion for Sanctions under Rule 37 Against ZHP, filed
     February 18, 2022

   • ECF 1953 - Letter from Adam M. Slater Opposing ZHP's Motion to File a
     Sur-Reply Concerning Rule 37 Sanctions, filed March 2, 2022

   • ECF 2177 – October 22, 2022 Letter from Adam M. Slater Regarding 2175
     Letter Regarding deLisle Report

   • ECF 2182 – Transcript of Oral Argument held on September 8, 2022, before
     Special Master the Honorable Thomas I. Vanaskie Regarding Sanctions

   • ECF 2721 – May 17, 2024 Letter from Adam M. Slater Enclosing Plaintiffs'
     Proposed Findings of Fact Regarding 2712 Order on Motion for Sanctions
Plaintiffs are not seeking attorney fees and costs for the appeals of SMO 98 and 100.

      Plaintiffs have only submitted attorney time that was focused on the particular

activities and issues catalogued in SMO 98, and was necessary to perform in each

instance. See Slater Certification. Plaintiffs’ submission also includes the Special

Master’s fees paid for by Plaintiffs, related to overseeing and adjudicating Plaintiffs’

repeated efforts to compel ZHP’s compliance with its discovery obligations, specific

                                          19
Case 1:19-md-02875-RMB-SAK          Document 2794-1      Filed 08/02/24    Page 25 of 31
                                    PageID: 104089



to the issues identified in SMO 98. Those fees were properly awarded as they are

certainly “associated with [Plaintiffs’] efforts to obtain ZHP’s compliance.” See

Slater Certification.

      Defendant failed to challenge the time spent or the rates submitted, or the

expenses. Precision in the submission is not required. “A fee petition should include

‘some fairly definite information as to the hours devoted to various general activities,

e.g. pretrial discovery, settlement negotiations, and the hours spent by various

classes of attorneys, e .g., senior partners, junior partners, and associates,’ but ‘it is

not necessary to know the exact number of minutes spent nor the precise activity to

which each hour was devoted nor the specific attainments of each attorney.’”

Wachtel v. Health Net, Inc., No. CIV 01-4183, 2007 WL 1791553, at *2 (D.N.J.

June 19, 2007) (quoting Washington v. Philadelphia County Court of Common

Pleas, 89 F.3d 1031, 1037-1038 (3d Cir. 1996) (citing Rode v. Dellarciprete, 892

F.2d 1177, 1190 (3d Cir.1990))). Plaintiffs easily meet this standard and would meet

a test requiring precision, as they utilized the applicable entries for all time

submitted, and have reasonably allocated the recorded time in the few entries that

include time subject and not-subject to the SMO 98 Order, as recognized in SMO

100, at 16.

      This case is a consolidated MDL involving attorneys from all over the

country, including some of the most prominent defense law firms in the world. As a

result, “a more national rate is the appropriate pole star to guide” this Court in
                                           20
Case 1:19-md-02875-RMB-SAK         Document 2794-1      Filed 08/02/24   Page 26 of 31
                                   PageID: 104090



determining a reasonable hourly rate to apply to the submitted time. In re Vioxx

Prod. Liab. Litig., 760 F. Supp. 2d 640, 660 (E.D. La. 2010). Based on any measure,

the submitted rates are reasonable. The hourly rates submitted on this application

include: 6

       • Adam Slater, Partner, Co-lead: $1,400.00

       • Christopher Geddis, Associate: $650.00

       • Cheryll Calderon, Associate: $475.00 7

       “To determine the reasonable hourly rate, the Court should look to the

prevailing market rates in the community.” Wachtel, 2007 WL 1791553, at *2 (citing

Washington, 89 F.3d at 1035 (citing Blum v. Stenson, 465 U.S. 886, 895–96 n. 11

(1984); Student Pub. Interest Research Grp., Inc. v. AT & T Bell Labs., 842 F.2d

1436, 1448 (3d Cir.1988) (“adopting the community market rule”))). Importantly,

“a more national rate is the appropriate pole star to guide [an MDL] Court.”

In re Vioxx, 760 F. Supp. 2d at 660. “When attorney’s fees are awarded, the current

market rate, defined as ‘the rate at the time of the fee petition,’ must be used.”




6
  Other Plaintiffs’ counsel besides those listed worked on and reviewed the pertinent
filings, etc. But, in an exercise of their discretion and to be conservative, Plaintiffs
only include time here for the principal attorneys involved.
7
  Cheryll Calderon left Mazie Slater on or about, July 2021; therefore, her hourly
rate at that time has been utilized. If Ms. Calderon were still with Mazie Slater her
hourly rate would be higher and the Plaintiffs’ total fees submitted would be higher,
but Plaintiffs did not extrapolate.
                                           21
Case 1:19-md-02875-RMB-SAK           Document 2794-1      Filed 08/02/24   Page 27 of 31
                                     PageID: 104091



Wachtel, 2007 WL 1791553, at *2. The Special Master correctly found the rates to

be reasonable here. (SMO 100, at 15-16).

         The submitted rates are within the range recognized as reasonable. For some

recent concrete examples, in the recent CPAP class action settlement, the submitted

hourly rates ranged from $225.00 to $1,450.00 per hour and were approved by the

Court. (Pls.’ Br. in Supp. of Their Motion for an Award of Attorneys’ Fees, Costs,

and Expenses and for Serv. Awards to Settlement Class Reps in In re Philips

Recalled CPAP, Bilevel Pap, & Mechanical Ventilator Prods. Litig., p. 34 (Jan. 8,

2024) (Ex. 3)8). In re Philips Recalled CPAP, Bi-Level PAP, & Mech. Ventilator

Prod. Litig., No. MC 21-1230, 2024 WL 1810190, at *12 (W.D. Pa. Apr. 25, 2024).

The Suboxone MDL court approved a $1,550.00 rate for the co-lead counsel there.

In re Suboxone (Buprenorphine Hydrochloride & Naloxone) Antitrust Litig., No. 13-

MD-2445, 2024 WL 815503, at *17 (E.D. Pa. Feb. 27, 2024). In another example,

in early 2023, ZHP’s counsel submitted their hourly rates to the Talc MDL

bankruptcy:

         • Jessica Davidson, Partner, Defendants’ Liaison Counsel: $1,195.00

         • Richard Bernardo, Partner: $1,113.00

         • Allison Brown, Partner, $1,113.00

         • Christopher Cox, Counsel: $967.00



8
    All exhibits in this section are attached to the Slater Cert. (ECF 2731-2).
                                             22
Case 1:19-md-02875-RMB-SAK        Document 2794-1     Filed 08/02/24    Page 28 of 31
                                  PageID: 104092



      • Jordan Schwartz, Counsel: $898.00

      • Nancy Wuamett, Counsel: $898.00

      • Kelsey Byler, Associate: $817.00

      • Andrew Karp, Associate: $786.00

      • Zachary Martin, Associate: $786.00

(Skadden Arps Fee Application in In re LTL Management LLC, No. 21-bk-30589

(D.N.J. Bankr. March 1, 2023) (Ex. 4)). Presumably, these rates have increased

since the time of this submission. More recently, In the Juul MDL, the Court

approved attorneys’ fees where “97% of partner hours, rates range from $275 –

$1,200; for over 96.5% of senior counsel hours, rates range from $475 – $1,000; for

over 93.5% of associate hours, rates range from $175 – $800; for over 92.5% of

contract or staff attorney hours, rates range from $100 – $500; and for over 88% of

paralegal hours, rates range from $75 – $425.” In re Juul Labs, Inc., Mktg., Sales

Practices, & Prods. Liab. Litig., No. 19-md-02913, p. 6 n.6 (Dec. 18, 2023) (Ex. 5).

The submitted rates are consistent with the aforesaid examples of decisions

addressing the rates in similar MDL litigation.

      In fact, there is law that would support even higher rates, though not requested

here. For example, in the Talc MDL bankruptcy in the District of New Jersey, the

Court approved the following fee ranges:




                                         23
Case 1:19-md-02875-RMB-SAK        Document 2794-1      Filed 08/02/24   Page 29 of 31
                                  PageID: 104093




Hogan Lovells US LLP’s Application for Retention in In re LTL Management LLC,

No. 21-bk-30589 (D.N.J. Bankr. May 4, 2022) (Ex. 6); Order Granting Hogan

Lovells US LLP’s Application in In re LTL Management LLC, No. 21-bk-30589

(D.N.J. Bankr. June 15, 2022) (Ex. 7). Other courts have similarly approved

attorneys’ fees in the range of $2,000 an hour. Brazile v. Comm'r of Soc. Sec., No.

C18-5914JLR, 2022 WL 503779, at *3 (W.D. Wash. Feb. 18, 2022) (collecting

cases); Timothy M. v. Comm'r Soc. Sec. Admin., No. 6:21-CV-01708-AR, 2023 WL

1071604, at *2 (D. Or. Jan. 27, 2023) (same); Beira v. Comm'r of Soc. Sec., No.

612CV147ORL18DCI, 2021 WL 275905, at *3 (M.D. Fla. Jan. 4, 2021), report and

recommendation adopted, No. 6:12-CV-147-GKSDCI, 2021 WL 268643 (M.D. Fla.

Jan. 27, 2021); Peterson v. Comm'r of Soc. Sec., No. 616CV948ORL40GJK, 2018

WL 3650034, at *2 (M.D. Fla. June 19, 2018).

      For the above reasons and those set forth in the referenced Slater Certification,

Plaintiffs request that the award of attorney’s fees and costs be affirmed as ordered

by SMO 98 and 100.



                                         24
Case 1:19-md-02875-RMB-SAK       Document 2794-1       Filed 08/02/24   Page 30 of 31
                                 PageID: 104094



                                 CONCLUSION

      For the foregoing reasons, it is respectfully requested that this Court affirm

Special Master Order 98, direct the adverse findings of fact submitted by Plaintiffs

in response to SMO 98, or in the alternative the adverse inference instruction set

forth herein, and affirm the award of attorney fees and expenses pursuant to Special

Master Order 100.

Dated: August 2, 2024                     Respectfully submitted,

/s/ Adam Slater                              /s/ Daniel Nigh
Adam Slater                                  Daniel Nigh
MAZIE, SLATER, KATZ &                        NIGH GOLDENBERG RASO &
FREEMAN, LLC                                 VAUGHN, PLLC
103 Eisenhower Pkwy, 2nd Flr.                14 Ridge Square NW
Roseland, NJ 07068                           Third Floor
Phone: (973) 228-9898                        Washington, D.C. 20016
aslater@mazieslater.com                      Phone: (850) 600-8090
                                             dnigh@nighgoldenberg.com

/s/ Ruben Honi                               /s/ Conlee S. Whiteley
Ruben Honik                                  Conlee S. Whiteley
HONIK LLC                                    KANNER & WHITELEY, LLC
1515 Market Street, Suite 1100               701 Camp Street
Philadelphia, PA 19102                       New Orleans, LA 70130
Phone: (267) 435-1300                        Phone: (504)-524-5777
ruben@honiklaw.com                           c.whiteley@kanner-law.com

                              Counsel for Plaintiffs




                                        25
Case 1:19-md-02875-RMB-SAK        Document 2794-1       Filed 08/02/24   Page 31 of 31
                                  PageID: 104095



                         CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2024, I electronically filed Plaintiffs’ notice

of motion and brief in support of their objections to and motion to reverse or modify

Special Master Order 100 in part with the Clerk of the Court using CM/ECF system

which will send notification of such filing to the CM/ECF participants registered to

receive service in this MDL.

                                 MAZIE SLATER KATZ & FREEMAN, LLC
                                 Attorneys for Plaintiffs

                                 By:    /s/ Adam M. Slater

Dated: August 2, 2024




                                          26
